                      Case 1:18-cv-02921-JMF Document 621 Filed 07/09/19 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                    Southern District
                                                  __________  DistrictofofNew York
                                                                           __________


                    State of New York, et al.                      )
                             Plaintiff                             )
                                v.                                 )      Case No.   18-cv-2921 (JMF)
      United States Department of Commerce, et al.                 )
                            Defendant                              )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Defendants                                                                                                           .


Date:          07/09/2019                                                                  /s/ Daniel A. Schiffer
                                                                                             Attorney’s signature


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